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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      November 09, 2021
                           UNITED STATES DISTRICT COURT
                                                                                       Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
VS.                                              §   CRIMINAL NO. 7:21-CR-1772-12
                                                 §
JOSE DIAZ                                        §

  ORDER STAYING MAGISTRATE’S ORDER OF RELEASE AND SETTING BOND
                            HEARING

        The Court considered Government's Motion for Stay of the Magistrate's Order of Release

[Doc. No. 259] and is of the opinion that said Stay should be, and is hereby GRANTED and the order

setting conditions of release (Dkt.No.258) of Magistrate Judge Scott Hacker is STAYED until further

order of this Court.

        IT IS FURTHER ORDERED that this matter is set for bond hearing on November 12,

2021, at 11:30 a.m. before the Honorable Randy Crane, United States District Court, in the 9th

Floor Courtroom, Bentsen Tower, 1701 West Business Highway 83, in McAllen, Texas.

        The Clerk shall send a copy of this Order to all counsel of record.

         SO ORDERED November 9, 2021, at McAllen, Texas.


                                                       ______________________________
                                                       Randy Crane
                                                       United States District Judge




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